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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–12–M–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 JOHN ROBERT DeYOUNG,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on January 11, 2017. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept John Robert DeYoung’s guilty

plea after DeYoung appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to defraud

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the United States in violation of 18 U.S.C. § 371 (Count I), as set forth in the

Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts II through IV of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

41), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that John Robert DeYoung’s motion to

change plea (Doc. 29) is GRANTED and John Robert DeYoung is adjudged guilty

as charged in Count I of the Indictment.

      DATED this 31st day of January, 2017.




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